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                        UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                      OCALA DIVISION


 PEGGY DURANT, an individually and
 on behalf of all others similarly situated,
                         Plaintiff,
       vs.                                      Case No. 5:23-cv-00561-GAP-PRL
 BIG LOTS, INC.,
                         Defendant.



                         DEFENDANT BIG LOTS, INC.’S
                        REQUEST FOR ORAL ARGUMENT

       Pursuant to Local Rule 3.01(h), Defendant Big Lots, Inc. requests oral

 argument on its Motion for Attorney’s Fees and Costs.

       Defendant estimates the time required for oral argument to be approximately

 15 minutes per side, for a total of 30 minutes.



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 Dated: May 15, 2024                 By:/s/ Jacob M. Harper


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                                   Certificate of Service

       I HEREBY CERTIFY that on May 15, 2024, the foregoing DEFENDANT BIG

 LOTS, INC.’S REQUEST FOR ORAL ARGUMENT was uploaded for filing and service

 via the Court’s CM/ECF system which will serve an electronic notice of filing to all

 registered CM/ECF recipients.

                                         By:/s/Jacob M. Harper
                                             Jacob M. Harper




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